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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

    Lynn A. McAllister
                                   Plaintiff
    v.                                             Case No. 5:24-cv-04054 JAR-GEB

    Tyson Fresh Meats, Inc.

                                Defendants


                   Plaintiff’s Opposition to Motion to Dismiss
                  Tyson’s Exhaustion Arguments are Frivolous

                           McAllister’s Amended Charge

         Defendant Tyson knows plaintiff Lynn McAllister amended his EEOC Charge

on February 13, 2023. Tyson attorneys then pretend only his original charge was

filed. ECF 8, p.2. Based on this candor Tyson then proceeds down an irrelevant

analysis concerning the original Charge which was filed before Tyson fired Mr.

McAllister from his position and then later terminated his employment. Thus all of

its exhaustion arguments are without merit as Tyson’s revelation of its knowledge

with this Court falls short.1 Tyson’s arguments are copy and paste from the many

other cases filed in various states against Tyson regarding its one-size-fits-all vaccine

mandate.2




1 See attached EEOC Docket 563-2022-00710 and Amended Charge and signed in separate

docket event the same day.
2 The cases against Tyson regarding its vaccine mandate are nearly legion. The Kansas

District has on its docket a recently filed case, Newell v. Tyson Foods, Case. No. 2:24-cv-
02359-JWB-TJJ filed August 15, 2024, alleging the same Tyson lose-your-job-unpaid-leave-
for-a-year vaccine mandate.
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                                     Overview

      Tyson created a company policy meant to deter employee protected conduct

from ever occurring in the first place. Tyson pre-ordained that the moment any Tyson

employee exercised his right to ask for a religious accommodation that an automatic

forfeiture of the employee’s pay and positions would occur – and did occur Full stop.

Call it a spring-loaded gun at the door – the sword of Damocles automatically swooped

down the moment Lynn McAllister made his religious accommodation request to

Tyson. That is direct evidence of an adverse employment decision simply because

Lynn exercised his religion asking to be accommodated. It was a “predetermined

illegal punishment for requesting a religious exemption.” McNeill v. Tyson Fresh

Meats, Inc., 2023 WL 8532408 at *7 (N.D. Texas, December 8, 2023).                 The

“predetermined punishment” was set on autopilot even “before he asked.” Id.

      Like the other requesting Tyson employees, Mr. McAllister was also placed on

the notorious LOA+ Status by Tyson on December 2, 2021 – meaning Lynn

immediately lost his decades long position and was placed on this one year unpaid

leave status. Lynn filed an EEOC charge on January 28, 2022, while he was still

employed with Tyson. Later, in March, 2022, Tyson filled Mr. McAllister’s position

while he was on LOA+ status – meaning he was still technically employed – not paid

but eligible to obtain employee benefits. On October 26, 2022, Tyson sent a letter to

Mr. McAllister stating that in five days’ time, on October 31, 2022, LOA+ status

employees such as Mr. McAllister might return to work if there is a position available.

But if there was no position available, the employee would be terminated. On
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November 25, 2022, Tyson sent McAllister a letter stating “If you do not respond to

this letter and return to work by November 25th, 2022, we will assume you do not

wish to retain your Tyson employment and your employment and associated benefits

will be terminated.” Plaintiff was terminated because of his religious beliefs on

November 21, 2022. After filing his original EEOC charge, given the later events, Mr.

McAllister filed with the EEOC a “Petition to Amend Original Charge of Employer

Religious Discrimination” on January 29, 2023. See EEOC docket.

Mr. McAllister then filed

“Final+EEOC+Signed+Amended+Charge+of+Discrimination+2.12.23” with 21

exhibits. See attached EEOC docket (p.5 docketing event). 3

      As the EEOC docket that the Tyson attorneys are very well aware of reveals,

together with the Amended Charge, all of which Tyson had notice of, all of the Counts

set forth by Mr. McAllister in his Complaint were administratively exhausted. The

exhaustion arguments made regarding Count II, V, and VI beginning on page 4 of

that motion are all frivolous and are useless make work for the Court.4




3 The Amended pro se EEOC Charge has a table of contents identifying retaliation,

discrimination, failure to accommodate, which all give rise to disparate treatment
and disparate impact claims.
4 And Tyson is not permitted to do an end-around to its motion by swapping horses

and attacking the Amended Charge in its Reply. This would be a new issue that
should not be considered. See United States v. Murray, 82 F.3d 361, 363 n. 3 (10th
Cir.1996); United States v. Feinberg, 89 F.3d 333, 340-41 (7th Cir. 1996) (“reply brief
is not the appropriate vehicle for presenting new arguments or legal theories to the
court”). “When a moving party advances in a reply new reasons and evidence in
support of its motion,” courts can either grant the nonmoving party an opportunity to
respond or decline to rely on the new material when deciding the motion. Beaird v.
Seagate Tech., Inc., 145 F.3d 1159, 1164-65 (10th Cir. 1998).
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             McNeill v. Tyson Fresh Meats, Inc., 2023 WL 8532408
                        (N.D. Texas, December 8, 2023)
                                       *
               Hayslett v. Tyson Foods, Inc., No. 1:22-cv-01123
                          (W.D. Tenn. Sept. 20, 2023)5

      Plaintiff has stated prima facie cases for retaliation, disparate treatment, and

disparate impact under Title VII. Tyson erroneously claims that a plaintiff cannot

plead claims of retaliation and failure-to-accommodate based on the same facts.

Tyson is wrong. The plaintiff in McNeill alleged that Tyson’s unpaid leave scheme

was both discriminatory and retaliatory under Title VII. McNeill, at *12. And the

court in McNeill took no issue with this approach, noting that “a realistic, drastic pay

cut threat” is an adverse employment action for purposes of both a retaliation and

failure-to-accommodate claim. Id. See also Lewis v. New York City Transit Authority,

12 F. Supp. 3d 418 (E.D.N.Y. 2014). In Lewis the plaintiff was a practicing Muslim

who was unable, for religious reasons, to remove her khimar as required by the

defendant’s uniform policy. Id. at 427–28. The plaintiff presented evidence that this

new position was less desirable in many ways. Id. at 429. After the plaintiff filed

claims for both failure-to-accommodate and retaliation, id. 433–34, the district court

upheld both claims on summary judgment, reasoning that a “materially adverse

action in the context of Title VII’s anti-retaliation provision is broader than an

adverse employment action in the context of Title VII’s anti-discrimination

provisions.” Id. at 450. The court then concluded that the same reasons the transfer




5 Available at https://www.courtlistener.com/docket/63374753/hayslett-v-tyson-foods-inc/
docket entry 66 September 20, 2023.
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could not be deemed reasonable also rendered the transfer materially adverse for the

retaliation claim. Id.6

       Plaintiff Lynn McAllister had sincere religious beliefs which precluded him

from complying with the vaccination requirement for which he requested

accommodations but was denied. The facts demonstrate that this requirement had

several adverse effects to Lynn who could not consent to a COVID-19 vaccination

injection for religious reasons. He immediately lost his position, placed on unpaid

leave, and ultimately were terminated. That constitutes disparate impact.

       Tyson’s arguments ignore the elephant in the room – that Mr. McAllister is not

the first employee to sue regarding Tyson’s one-size-fits-all-process which Tyson and

its Littler Mendelson firm knows all too well.7 Hayslett’s reasoning is supported by




6 See Allen v. Houston Indep. Sch. Dist., 689 F. App’x 238, 240 (5th Cir. 2017) (claims “based

on the same predicate facts”); Huge v. Boeing Co., No. C14-857, 2015 WL 6626568, at
*11 (W.D. Wash. Oct. 30, 2015) (denying the employer’s summary judgment motion
because fact issues remained as to whether placing plaintiff on unpaid leave after she
sought an accommodation was retaliatory and an unlawful accommodation);
McClendon-Lemman v. Tarrant Cnty. Coll., No. 4:21-cv-1338-P, 2022 WL 4396275, at *3
(N.D. Tex. Sept. 23, 2022) (denying motion to dismiss retaliation and discrimination claims
based on same facts); Davies By & Through Davies v. Lackawanna Cnty., 2018 WL 924205,
at *2 (M.D. Pa. Feb. 14, 2018) (“there are claims of discrimination based on failure to
accommodate Plaintiff’s disability, which are factually intertwined with the retaliation
claim”).
7 See Hayslett v. Tyson Foods, Inc., No. 1:22-cv-01123(W.D. Tenn. Sept. 20, 2023).     In
Hayslett, Tyson Foods argued in its summary judgment memorandum that even if
that plaintiff established a prima facie case of religious discrimination to its covid 19
vaccine mandate, that Tyson Foods “had legitimate, non-discriminatory reasons for
its actions – namely, to mitigate the spread of COVID-19, and protect the community
at large, including its own employees.” Tyson argued it really meant well because it
relied upon CDC guidance. But as Judge Anderson ruled in Hayslett, the motivation
of why for Tyson’s purported sincere reasons was irrelevant. Rather it was the what
– do any of the possible accommodations place an undue hardship upon Tyson:

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the Tenth Circuit. DOES 1-11 v. Bd. of Regents of Univ. of Colorado, 100 F. 4th 1251,

1280 (10th Cir. 2024) (“the Administration's motivation for the mandate itself is

irrelevant. The mandate is not at issue in this case. What matters is how— and why—

the Administration implemented the religious accommodations required by Title

VII”). In McNeill, and similar to Lynn McAllister as maintenance supervisor at the

Emporia, Kansas, processing plant, Christopher McNeill was subjected to the

identical Covid-19 policy at Tyson’s Amarillo, Texas processing plant. McNeill at *1.

No different than Mr. McNeill, the same Tyson mandate put Lynn McAllister

“between two rocks and a hard place.” McNeill at *6 (Rock 1: to keep your job you

must abandon your religious convictions irreversibly; and Rock 2: voluntary self-

termination, even with the possibility of being rehired, is not a reasonable

accommodation). An “employee raising a religious objection to receiving the vaccine

had exactly three choices: (1) capitulate on his religious belief so to comply with the



 But the undue burden test is not concerned with the wisdom of Defendants’ vaccine
 mandate. The question is whether Defendants could offer an accommodation to
 Plaintiff without substantially increasing Defendants’ costs at the Newbern plant.
 The inference from Defendants’ evidence is that employee illnesses caused missed
 work, thereby impacting operations and presumably increasing Defendants’ costs.
 How much it actually increased costs Defendants have not said. None of this proof
 shows how accommodating Plaintiff and any impact the accommodation had on
 Defendants’ operations would have resulted in a substantial increase of costs to
 Defendants. Defendants add that Plaintiff’s presence would have put other
 vaccinated employees at risk. Even accepting that claim as true, Groff made clear
 that adverse impact on other employees, standing alone, does not satisfy the undue
 burden test. Groff, 143 S.Ct. at 2296 (“So an accommodation’s effect on co-workers
 may have ramifications for the conduct of the employer’s business, but a court
 cannot stop its analysis without examining whether that further logical step is
 shown in a particular case”).



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policy; (2) accept immediate termination; or (3) accept up to one-year unpaid leave

until either the policy was rescinded, the employee complied, or the leave period

expired — culminating in termination.” McNeill at *6.

       Judge Kacsmaryk examined Mr. McNeill’s disparate treatment claim. Id. at

*9. Tyson claimed McNeill also did not have a sincere religious belief and suffered no

adverse employment action. Id. at *9. Judge Kacsmaryk held McNeill had a sincere

religious belief that conflicted with Tyson’s vaccine mandate and then examined

Tyson’s claim there was no adverse employment action. Id. at *12. The McNeill court

made short work of this claim: “the leave of absence scheme amounted to a realistic,

drastic pay cut threat such that it was an adverse employment action.” Id.8 “Being

placed on indefinite unpaid leave because your employer doesn't like your religious

beliefs is obviously an adverse employment action and an actionable claim under Title

VII…. and an offer of voluntary self-termination with the possibility of being rehired

is not a reasonable accommodation.” Id. at *4 (cleaned up).

       As to a causal link, Tyson put into play automatic retaliatory responses to a

religious accommodation request: a promise that Lynn would forfeit his job with a

significant pay cut. “Here, Plaintiff alleges retaliation because he requested a

religious accommodation from a company policy, received a credible threat of a

substantial pay cut if he did not comply with the policy, and that threat was directly


8 “Defendant responded to Plaintiff's request for accommodation with an offer to reduce his

pay completely for up to one year and then – if Plaintiff had not complied with the policy or
Defendant had not rescinded the policy – he would then be terminated. His alternative
options were immediate termination or compliance with the objected-to policy contrary to his
religious belief. Thus, Plaintiff has alleged that he suffered an adverse employment action.”
McNeill at *12.
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related to his accommodation request” Id. at *4. It was a “predetermined illegal

punishment for requesting a religious exemption.” McNeill at *7. Tyson never

considered other reasonable accommodation possibilities. “Tyson’s accommodation

framework was merely a ‘rubber stamp’ denial – or constructive denial – is not

unfamiliar.” McNeill at *7 (citing U.S. Navy SEALs 1-26 v. Biden, 578 F.Supp.3d 822,

835 (N.D. Tex. 2022) (“Navy provides a religious accommodation process, but by all

accounts, it is theater” and “merely rubber stamps each denial”).

 Lynn Has Sincere Religious Beliefs That Conflicted With Tyson’s Vaccine
                                Mandate

       Tyson claims paragraph 138 of the Complaint is insufficient to state Lynn’s

religious beliefs. Courts have held that a plaintiff sufficiently pleads the first element

of a failure to accommodate religious beliefs claim when the COVID-19 vaccine

objection is based on a religious belief regarding the use of aborted fetal cells. See

Collins v. Tyson Foods, Inc., No. 22-cv-00076, 2023 WL 2731047, at *7 (W.D. Ky. Mar.

30, 2023) (plaintiff established a prima facie case by simply identifying as a Christian

who opposed the COVID-19 vaccine due to the use of fetal cell tissue);9 Ellison v.

Inova Health Care Servs., No. 123CV00132MSNLRV, 2023 WL 6038016, at *6 (E.D.

Va. Sept. 14, 2023) (plaintiff adequately linked objection to the COVID-19 vaccine to

a sincerely held religious belief by alleging he had a “sincerely held religious belief in

the sanctity of human life and that—because he sincerely believe[d] the use of these


9 Collins also held that this plaintiff employee had stated a Title VII failure to accommodate

claim based on Tyson’s proposed accommodation for unvaccinated workers to take one year
of unprotected, unpaid leave and possibly return to their positions only if they become
immunized, which a jury could find was not a reasonable accommodation for plaintiff’s
religious beliefs.
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bodily remains renders these vaccines unclean,” — he could not comply with the

policy for that reason”). See McNeill at *10 (Plaintiff plausibly alleged a religious

belief conflicting with COVID-19 vaccine requirement because he asserted that “his

God given blood is the only immune system [he] or [his] children need, and

accordingly believes taking any vaccine is against my faith, my God”). This is also

what Lynn stated as his religious beliefs in his Amended EEOC charge.

      Tyson points to the allegations in the Complaint about the scientific

misinformation and falsities of Tyson’s rationale – but this is not alleged as Lynn’s

reasons for his refusing to consent to the vaccine. Rather, it demonstrates the

illegitimate sham pretextual nature of Tyson’s purported rational in imposing what

it claimed were scientific reasons for its vaccine mandate. There wasn’t a legitimate

reason for Lynn to lose his position and be placed on unpaid leave – then terminated.

           Tyson Misstates the Adverse Employment Requirement

      Requesting a religious accommodation and contesting the denial is protected

activity.10 Lynn McAllister was subjected to several adverse employment actions. 11

The moment Tyson changed the terms of his employment, coupled with the mandate’s



10 EEOC Compliance Manual § 12-V-B (“EEOC has taken the position that requesting

religious accommodation is protected activity”); McNeill at *5 (“requesting religious
accommodation is protected activity as is opposing an allegedly unlawful denial of a
religious accommodation”).
11 An “adverse employment action is a disadvantageous change to the compensation,

terms, conditions, or privileges of employment.” Cole v. Grp. Health Plan, Inc., No.
23-3050, 2024 WL 3217580, at *2 (8th Cir. June 28, 2024) (abrogating prior
requirements of “significant,” “material” or “serious.” (quoting Muldrow v. City of St.
Louis, 144 S. Ct. 967 n.2 (2024)) (Muldrow (abrogating Daniels v. United Parcel Serv.,
Inc., 701 F.3d 620 (10th Cir. 2012) and Sanchez v. Denver Pub. Sch., 164 F.3d 527
(10th Cir. 1998)).
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automatic penalty of forfeiture of his salaried position (then placed on unpaid leave)

if he chose to keep his religious convictions, this constituted multiple adverse actions.

Tyson’s mandate “placed the Plaintiff between two rocks and a hard place” with only

three choices. Tyson at *6.

      As to a causal link, Tyson put into play automatic retaliatory responses to a

religious accommodation request: a promise that Lynn would forfeit his job with a

significant pay cut. It was a “predetermined illegal punishment for requesting a

religious exemption.” McNeill at *7. Tyson never considered other reasonable

accommodation possibilities. “[Tyson’s] accommodation framework was merely a

‘rubber stamp’ denial – or constructive denial – is not unfamiliar.” McNeill at *7

(citing U.S. Navy SEALs 1-26 v. Biden, 578 F.Supp.3d 822, 835 (N.D. Tex. 2022)

(“Navy provides a religious accommodation process, but by all accounts, it is theater”

and “merely rubber stamps each denial”).

                  A Disability Discrimination Claim is Stated

      In disregard of the Complaint allegations – and the actual letter from Tyson –

Tyson claims “Plaintiff’s Complaint lacks factual allegations to support the notion

that Tyson perceived or regarded him as disabled.” ECF 8, p.6. But the Complaint

plainly recites what Vice President Hithon literally said – that a disability request

was granted on September 17, 2021, even before Lynn made a religious

accommodation request on October 1, 2021. At paragraph 137 it states:

 On September 17, 2021, Lola Hithon, Vice President, Employee Relations and
 Compliance for Tyson Foods Inc, stated to Mr. McAllister that “this letter confirms
 that your request for a disability or religious accommodation from Tyson's
 mandatory vaccination requirement has been granted and will begin on October 1,

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 2021 for corporate team members and on November l, 2021 for plant team
 members. Because the pandemic raises complex medical and scientific issues, the
 status of the accommodation is subject to change.

      Hithon’s    letter   is   snapshot   within   the   Complaint.    This    disability

accommodation came before the October 1, 2021, accommodation request of Lynn.

Harmon v. Sprint United Management Corp., 264 F. Supp. 2d 964, 970 (D. Kan. 2003)

supports the plaintiff’s regarded as disability claim. The Complaint shows Lynn was

regarded as having a disability, Tyson had notice, and then shows Lynn suffered

several adverse employment decisions including being terminated.            A person is

“regarded as” disabled when (1) a covered entity mistakenly believes that a person

has a physical impairment that substantially limits one or more major life activities,

or (2) a covered entity mistakenly believes that an actual, nonlimiting impairment

substantially limits one or more major life activities.” Johnson v. Weld County, Colo.,

594 F.3d 1202, 1219 (10th Cir. 2010). In either case, the focus of the court is on an

employer’s subjective state of mind. Justice v. Crown Cork and Seal Co., Inc., 527

F.3d 1080, 1086 (10th Cir. 2008).

      Tyson’s state of mind is on display at paragraph 137 and its letter. Tyson

removed Lynn from his job and placed him on unpaid leave. Lynn was terminated as

not comparable paying jobs were offered. Plaintiff has demonstrated that Tyson

regarded Lynn as significantly restricted in performing either (1) a class of jobs; or

(2) a broad range of jobs in various classes. See EEOC v. Heartway Corp., 466 F.3d

1156, 1163 (10th Cir. 2006) (“must be sufficient evidence that the employer

subjectively believed the employee to be significantly restricted as to a class of jobs or



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broad range of jobs in various classes”).

       Ms. Hithon, as Vice President of Employee Relations and Compliance, was

certainly a decisionmaker for Tyson. See Rakity v. Dillon Cos., 302 F.3d 1152, 1163

(10th Cir. 2002) (views of the decision maker are considered in determining whether

the employer regarded the employee as disabled). Ms. Hithon clearly had notice and

Tyson would not have granted a disability accommodation to Lynn unless it

recognized Lynn having a disability under its ADA policy. Moreover, when Tyson

terminated Lynn’s employment, it again provided a one size fits all generic letter.

Tyson never stated the actual reason.               Rather, it gave four conflicting and

inconsistent reasons12 – none of which Tyson actually says was the actual reason. See

Complaint, para. 132.

       Under Tyson’s one-size-fits-all policy there was nothing left to decide once

Lynn McAllister exercised his right to an accommodation. It had all been

preprogrammed on autopilot with one destination: lost pay and job. Tyson was

merely there to herd each requestor, like cattle down to the Purgatory holding chute,

all the while offering false hopes like wine mixed with gall on a sponge, adding insult

to injury to Lynn awaiting (unknown to him) the certain executioner’s spring-loaded

head shot to his Tyson career. And the illusion was certainly orchestrated on a

premediated basis. Tyson carried through with its theatrics giving the wholly false

impression that it was actually considering Lynn’s requests individually, on a case

by case basis, when his fate, like every other requesting Tyson employee, had already


12 e.g. “A same or like position was not available” and “the same, or like position was available,

and you refused the offered position.” Para. 132.
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been sealed before the first act of this cruel theatre even began. The fix was in from

before the beginning –it was all theatre.

      The plaintiff exhausted his EEOC claims which are set forth in his Complaint.

The plaintiff states claims under Count I. The Tenth Circuit does not hold that

liability can never attach for failure to engage in the interactive process. It can when

it is shown there were other possible accommodations. See Lincoln v. BNSF Ry. Co.,

900 F.3d 1166, 1207 n.29 (10th Cir. 2018). See Fjellestad v. Pizza Hut of Am., Inc.,

188 F.3d 944, 952 (8th Cir.1999) (only if no reasonable accommodation was possible

can employer escape liability for failing to engage in an interactive process). “When

the employer fails to engage in the interactive process, it is not likely that an

employer will be able to establish on summary judgment the absence of a disputed

fact as to the existence of a reasonable accommodation.” Valdez v. McGill, 462 F.

App’x 814, 819 n.5 (10th Cir. 2012). Tyson’s one size fits all preprogrammed outcome

was no accommodation process at all but a “predetermined illegal punishment for

requesting a religious exemption.” McNeill at *7. An employer who “determines what

accommodation it is willing to offer before ever speaking with” the employee does not

participate in good faith. Mosby-Meachem v. Memphis Light, Gas & Water Div., 883

F.3d 595, 606 (6th Cir. 2018); Lowe v. Calsonickansei N. Am., Inc., 2020 WL 2473757,

at *8 (M.D. Tenn. May 13, 2020).

      Groff v. DeJoy, 600 U.S. 447 (2023) now requires an employer to prove that the

burden of accommodation “is substantial in the overall context of an employer’s

business.” As Hebrew v. Texas Dep’t of Criminal Justice, 80 F.4th 717 (5th Cir. 2023)



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noted, “this is a heavy burden.” Id. at 722. Groff “suggests that, all other things

being equal, larger businesses and institutions must bear a heavier burden in proving

undue hardship.” Hebrew at 725, fn*. See Hebrew at 722 (“If a requested

accommodation poses an undue hardship, the employer must sua sponte consider

other possible accommodations….Only after thorough consideration of other options

may the employer deny the employee’s request for accommodation”). See Smith v.

City of Mesa, No. CV-21-01012-PHX-DJH, 2023 WL 2463819, at *5 (D. Ariz. Mar.10,

2023)     (employer   must   “demonstrate    that   any   and   all   other   potentially

accommodations…would have imposed undue hardship”); DeVore v. Univ. of

Kentucky Bd. of Trustees, No. 522CV00186GFVTEBA, 2023 WL 6150773, at *4 (E.D.

Ky. Sept. 20, 2023) (employers must show “that any accommodation” would impose

undue hardship); Floyd v. Trinity Central Home Health, LLC, No. 6:22-cv-061172024

WL 3653055 (W.D. Ark. Aug. 5, 2024); U.S. v. Department of Corrections &

Rehabilitation, No. 2:24-cv-00925, LEXIS 109106; 2024 WL 3088654 (E.D. Cal. June

20, 2024) (same).

         Thus Count I is viable when the plaintiff also shows the employer did not

consider all possible accommodations. See Smith v. Midland Brake, Inc., 180 F.3d

1154, 1174 (10th Cir. 1999) (failure to fulfill its interactive obligations is not viable

pathway of recovery “unless he can also show that a reasonable accommodation was

possible and would have led to a reassignment position”). Plaintiff has demonstrated

this.




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                                     Conclusion

1. Plaintiff has exhausted his administrative remedies for all claims.
2. Tyson did not sua sponte consider every possible accommodation. There was no
    interactive process and none regarding every possible accommodation.
3. Plaintiff states a prima facie case for retaliation.
a. Plaintiff engaged in a protected activity.
b. Plaintiff was subjected to several adverse employment actions.
c. There is a sufficient link nexus between the protected activity and adverse action.
4. Plaintiff states a prima facie case for religious discrimination (disparate
    treatment and impact).
a. Plaintiff pleads a sincere religious belief reflecting an honest conviction.
b. Plaintiff pleads several adverse employment actions.
5. Plaintiff pleads a disability claim.
a. Tyson granted a disability accommodation.
b. Tyson removed plaintiff from his position.
c. Tyson placed him on unpaid leave.
d. Tyson offered no comparable position with the same pay – which could mean
    Tyson considered there was no class of jobs plaintiff could meet the job
    requirements.

      The defendant Tyson Fresh Meats motion to dismiss should be denied.

                                            By:/s/Linus L. Baker
                                            Linus L. Baker KS 18197
                                            6732 West 185th Terrace
                                            Stilwell, Kansas 66085-8922
                                            913.486.3913
                                            913.232.8734 (fax)
                                            E-Mail: linusbaker@prodigy.net
                                            Attorney for the plaintiff

                               Certificate of Service

       The above was provided notice to all parties entitled to such notice pursuant
to the Court’s electronic filing system.

/s/Linus L. Baker
Attorney for the plaintiff




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